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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

TJBC, INC.,                               )
                                          )
                          Plaintiff,      )
                                          )
vs.                                       )     Case No. 3:20-cv-815-DWD
                                          )
THE CINCINNATI INSURANCE                  )
COMPANY, INC.,                            )
                                          )
                          Defendant.      )

                          JUDGMENT IN A CIVIL ACTION

DUGAN, District Judge:

      IT IS ORDERED AND ADJUDGED that pursuant to the Memorandum and Order

entered on January 25, 2021 (Doc. 54), Defendant’s Motion to Dismiss (Doc. 24) is

GRANTED.

      This action is DISMISSED in its entirety and the case is closed.

      IT IS SO ORDERED.

      DATED: January 25, 2021

                                        MARGARET M. ROBERTIE, Clerk of Court
                                        s/ Dana M. Winkeler
                                        Deputy Clerk

Approved: s/ David W. Dugan
David W. Dugan, U.S. District Judge




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